      Case 3:17-cr-00278-K           Document 100          Filed 10/17/17        Page 1 of 1        PageID 222
                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

UNITED STATES OF AMERICA                                  §
                                                          §
vs.                                                       §                    CASE NO.: 3:17-CR-278-K (01)
                                                          §
MARQUIST FULCHER                                          §

                                     REPORT AND RECOMMENDATION
                                      CONCERNING PLEA OF GUILTY

         MARQUIST FULCHER, by consent, under authority ofUnited States v. Dees, 125 F .3d 261 (51h Cir. 1997),
has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to the One Count Indictment,
filed on May 17, 2017. After cautioning and examining Defendant Marquis Fulcher, under oath concerning each
of the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the
offense charged is supported by an independent basis in fact containing each of the essential elements of such offense.
I therefore recommend that the plea of guilty be accepted, and that Defendant Marquis Fulcher, be adjudged guilty
of Conspiracy to Commit Child Sex Trafficking, in violation of18 USC§ 1594(c)[18 USC§ 1591(a)(1) and (a)(2)
and (b)(2)], and have sentence imposed accordingly. After being found guilty of the offense by the district judge,

~       The defendant is currently in custody and should be ordered to remain in custody.

D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143( a)(1) unless the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

        D       The Government does not oppose release.
        D       The defendant has been compliant with the current conditions of release.
        D       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                other person or the community if released and should therefore be released under § 3142(b) or (c).

        D       The Government opposes release.
        D       The defendant has not been compliant with the conditions of release.
        D       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1)(a) the Court finds there
        is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptiona 1rcu stances are clearly
        shown under § 3145(c) why the defendant should not be detained, and (2) t e Court mds by clear and
        convincing evidence that the defendant is not likely to flee or pose a               to any ther person or the
        community if released.                                          (

        Signed October 17, 2017.




                                                      NOTICE

          Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(1 )(B).
